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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                    )    Chapter 11
                                                          )
INVACARE CORPORATION, ET AL.,                             )    Case No. 23-90068 (CML)
                                                          )
             Debtor.                                      )    (Jointly Administered)
                                                          )    Re: Docket No. 469

AGREED ORDER REGARDING RAFAELA LEAL MUNOZ, INDIVIDUALLY AND AS
  PERSONAL REPRESENTATIVE / ADMINISTRATOR OF THE ESTATE OF LUIS
 FLORES LEAL, JOE LEAL, AND ELVIRA LEAL’S MOTION FOR RELIEF FROM
 THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d) AND WAIVER OF THE
               30 DAY HEARING REQUIREMENT OF §362(e)

    Upon the motion (“Lift Stay Motion”)1 of Rafaela Leal Munoz, individually and as personal

representative and/or administrator of the estate of Luis Flores Leal, Joe Leal, and Elvira Leal

(collectively, the “Movants”) for entry of an order for relief from the automatic stay pursuant to

11 U.S.C. § 362(d); and the Court having found that the Court has jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); and appropriate notice having been provided under the circumstances of

the Lift Stay Motion and that no other or further notice is required; and the Movants and the

Debtors stipulate and agree, and the Court hereby orders (the “Agreed Order”) that:

         1.        Notwithstanding anything to the contrary in the First Amended Joint Chapter 11

Plan of Invacare Corporation and its Debtor Affiliates [Docket No. 366] (as may be amended, the

“Plan”),2 or the Confirmation Order, as entered, immediately upon the Effective Date of the Plan,

the automatic stay and any injunction provided for in the Confirmation Order or in the Plan, as



1
  The Lift Stay Motion was filed as: Rafaela Leal Munoz, Individually and as Personal Representative and/or
Administrator of the Estate of Luis Flores Leal, Joe Leal, and Elvira Leal’s Motion for Relief from the Automatic Stay
Pursuant to 11 U.S.C. § 362(d) and Waiver of 30 Day Hearing Requirement of § 362(e) [Docket No. 469].
2
  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan.


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applicable, shall be lifted or modified to allow (but not require) the prosecution, defense,

settlement, and administration of the matter captioned Rafaela Leal Munoz, individually and as

personal representative and/or administrator of the estate of Luis Flores Leal, Joe Leal, and Elvira

Leal, Plaintiffs, v. Invacare Corporation, et al., Defendants (the “Leal Matter”) and the pursuit and

liquidation of claims asserted, related to, arising under, or that may otherwise arise under the Leal

Matter or the Leal proofs of claims (Claim Nos. 10003, 10004, 10005, and 10006) (together, the

“Leal Claims”).

         2.       The Leal Claims, including any amounts contained within a self˗insured retention,

deductible, or similar requirement set forth in any applicable insurance policy of the Debtors, shall

be satisfied, if Allowed, pursuant to the Plan as a General Unsecured Claim except to the extent

covered by any such insurance policy or policies. Nothing in this paragraph should be construed

as (i) creating or enlarging any direct right of action at applicable law, (ii) modifying the terms,

conditions, or coverage provided by or under the insurance policies of any of the Debtors or

Reorganized Debtors, (iii) an admission that any insurance proceeds are or will be available in

respect of the Leal Claims; (iv) precluding or limiting the rights of any insurer to contest or litigate

the existence, primacy, or scope of available coverage, or to assert any defenses to coverage, if

any insurance coverage exists, or (v) an admission of liability by the Debtors, Reorganized

Debtors, or any insurer regarding any claims or causes of arising from or in relation to the Leal

Matter, or any other parties.

         3.       If a judgment is signed or a settlement is reached, the Leal Claims filed by the

Movants in these cases, if any, shall be subsequently adjusted by the amount of the judgment or

settlement on a dollar-for-dollar basis. If a settlement is reached that includes a complete release




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of the Movants’ proofs of claim, if any, against Debtors, the Leal Claims shall be withdrawn in

their entirety.

          4.      Nothing in this Agreed Order or the relief sought herein shall constitute or be

deemed: (a) an allowance of administrative expense claim under section 503(b) of the Bankruptcy

Code; (b) an assumption or rejection of an executory contract or unexpired lease under section 365

of the Bankruptcy Code; (c) an admission as to the amount of, basis for, or validity of any claim

against the Debtors under the Bankruptcy Code or other applicable nonbankruptcy law; (d) a

waiver of the Debtors’ or any other party-in-interest’s right to dispute any claim on any grounds

whatsoever; (e) a promise or requirement to pay any claim; (f) an implication or admission that

any particular claim is of a type specified or defined in the Agreed Order or a finding that any

particular claim is an administrative expense claim or other priority claim; (g) an admission as to

the validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ bankruptcy estates; or (h) a waiver or limitation of the

Debtors’ rights under the Bankruptcy Code or any other applicable nonbankruptcy law.

          5.      The Court shall retain sole and exclusive jurisdiction with respect to the automatic

stay and its application to any actions other than those expressly provided for in this Agreed Order

and any disputes arising in respect of termination of the lifting of the stay by failure to meet a

necessary condition of the agreement reached between the Movants and the Debtors and approved

herein.


Dated: ____________, 2023


                                                _________________________________________
                                                CHRISTOPHER M. LOPEZ
                                                UNITED STATES BANKRUPTCY JUDGE




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AGREED IN FORM AND SUBSTANCE:

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  Houston, Texas
  Dated: April 27, 2023

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